      Case 2:17-cv-02797-NJB-DMD Document 123-22 Filed 02/09/20 Page 1 of 3




                                  UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF LOUISIANA

    RODNEY GRANT                                        *       CIVIL ACTION

    VERSUS                                              *       NUMBER: 2:17-cv-2797

    MARLIN GUSMAN, CARMEN                               *       SECTION: “G” (3)
    DESADIER, SIDNEY HOLT,
    DJUANA BIERRIA, JAMES                               *       JUDGE BROWN
    LEBLANC, TIMOTHY HOOPER,
    CHRIS STINSON, LASALLE                              *       MAG. JUDGE KNOWLES, III
    MANAGEMENT COMPANY, JOHN
    DOES 1-10, and ABC INSURANCE                        *
    COMPANIES 1-10
    * * * * * * * * * * * * * * * * *                        *************************

                        DEFENDANTS RESPONSES TO
    PLAINTIFF’S FOURTH REQUESTS FOR PRODUCTION OF DOCUMENTS TO DOC

         NOW, through undersigned Assistant Attorney General, come Defendants, Secretary James

LeBlanc and Warden Timothy Hooper, who answers Plaintiff’s Fourth Request for Production to

Defendant, as follows:

                                          DOCUMENT REQUESTS

DOCUMENT REQUEST NO. 36:

         All data for all DOC inmates who meet the criteria for inclusion in the February 2019 Pull

Document, but for all other months from January 2012 to the present.

RESPONSE TO DOCUMENT REQUEST NO. 36:

         Defendants object to this Request for Production on the following grounds:

Vagueness1 – Please define:


1
 Because of the vagueness of the terms used in this request, it is not possible at this time for the defendants to
accurately determine whether or not they are in possession of any materials responsive to this request.

                                                            1
    Case 2:17-cv-02797-NJB-DMD Document 123-22 Filed 02/09/20 Page 2 of 3




       “All data” – Specifically, the precise types of data referred to by this Request for
        Production.
       “criteria” – Specifically, please define the specific criteria applicable in this Request for
        Production.

Failure to Comply with FRCP 34 – FRCP34(b)(1)(A) requires a party requesting electronic
information to “describe with reasonable particularity each item or category of items to be
inspected; (B) must specify a reasonable time, place, and manner for the inspection and for
performing the related acts; and (C) may specify the form or forms in which electronically stored
information is to be produced.” This request does not comport with subsections (A), (B), or (C) by
failing to state with any particularity the precise pieces of data requested, any recommendation for
inspection, or state the form or forms in which this data is to be produced.
Relevance & Overly Broad – Defendants object to the scope of this request, and the degree to
which any alleged data for the broad period of “January 2012 to the present” is relevant to these
proceedings. To the extent that this request is overly broad, Defendants object insofar as it appears
to cast an unnecessarily wide net for alleged data that is not reasonably calculated to lead to the
discovery of admissible evidence. “All data” as yet undefined, is a potentially colossal term that
requires further definition and is far from being sufficiently narrowly tailored such that defendants
could provide a reasonable and substantive response. This appears especially salient when
considering that the period of incarceration at issue in this suit did not begin until late 2016.

Undue Burden – FRCP 26(b)(2)(B) states that “a party need not provide discovery of
electronically stored information from sources that the party identifies as not reasonably accessible
because of undue burden or cost.” This request asks for “all inmates” who meet the “criteria” for
inclusion in a “pull document”2 from January 2012 to the present. Without narrowly tailoring this
request, Plaintiff demands a vast amount of highly specific data that is difficult to easily retrieve
and store for a large selection of the entire inmate population of the Louisiana Department of
Corrections. Obtaining all of the information requested would require a burdensome allocation of
manpower, hours of labor, and technical skill that would impose significant financial and time
requirements upon the defendants.

In order to resolve the burdensome aspect of this request, the Defendants respectfully request that
this Request for Production be narrowly tailored to discovery of relevant information. Specifically,
information (rather than, “all data”) regarding particular offenders or groups of offenders.

Qualified Immunity – While the Defendants concede that the Court has ruled that the plaintiff
was able to meet his burden for alleging specific facts to overcome the defense of Qualified
Immunity at the Motion to Dismiss stage of this litigation, defendants assert that such a ruling does
not permit the plaintiff to subject the public official defendants to broad reaching discovery. When

2
  Defendants concede that the term “pull document” has become commonly used jargon within this suit for the
February 2019 document previously disclosed to Plaintiff. Nevertheless, Defendants deny any other
implications/descriptions that might be drawn from this particular usage of words used to denote a specific and
irregular document generated within the DOC.

                                                      2
    Case 2:17-cv-02797-NJB-DMD Document 123-22 Filed 02/09/20 Page 3 of 3




the defense of Qualified Immunity has been raised, discovery must be narrowly tailored.
Specifically, public officials are protected by Qualified Immunity from discovery that is avoidable
or overly broad. This Request for Production is both avoidable and overly broad for the reasons
stated in the objections above.

DOCUMENT REQUEST NO. 37:

       All “pull documents” described in Phyllis Glazer’s email of Dec. 20, 2019.

RESPONSE TO DOCUMENT REQUEST NO. 37:

       All documents pertinent to this request have been produced.

Defendants reserve the right to supplement these discovery responses, as discovery is ongoing.

                                             Respectfully submitted,

                                             JEFF LANDRY
                                             ATTORNEY GENERAL

                                      BY:      /s/ Jeffery A. “Beau” Wheeler, II
                                             Jeffery A. “Beau” Wheeler (#37546)
                                             Assistant Attorney General
                                             Louisiana Department of Justice
                                             Litigation Division, Civil Rights Section
                                             1450 Poydras Street, Suite 900
                                             New Orleans, LA 70112
                                             Telephone:       (504) 599-1200
                                             Facsimile:       (504) 599-1212
                                             E-mail:          WheelerJ@ag.louisiana.gov
                                             Attorney for Defendants

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 22nd day of January 2020, the foregoing was sent to

all parties by electronic mail.

                                   /s/ Jeffery A. “Beau” Wheeler, II
                              Jeffery A. “Beau” Wheeler, II (#37546)
                                     Assistant Attorney General




                                                3
